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IN THE U'NI'I'ED STATES DISTRICT COURT BSJU__G P" w ha
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION HMMM
'”WD(YWEMHEHB
FEDERAL EXPRESS CORPORATION,
Plaintiff,
v. No. 01-2503 Ma/P

ACCU- SORT SYSTEMS , INC . ,

Defendant.

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ORDER DENYING MOTION TO RECONSIDER AND MOTION FOR PARTIAL SUMMARY
JUDGMENT

 

On March 31, 2005, the court entered an order granting summary
judgment on two of FedEx's claims. Before the court are the motion
to reconsider and motion for partial summary judgment of Plaintiff
Federal Express Corporation (“FedEx”), both filed May 24, 2005.
Defendant Accu-Sort Systems, Inc. (“Accu-Sort”) responded on June
21, 2005. For the following reasons, the motions are DENIED.

I. Legal Standard

FedEx moves the court, under Fed. R. Civ. P. 54(b), to
reconsider its dismissal of Count‘ Four of the third amended
complaint, alleging misappropriation of the invention known as the

DM3000, and enter partial summary judgment in favor of FedEx on

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that count. Unlike Rule 59(e),l which. applies only' to final
judgments, Rule 54(b) allows a court to reconsider and revise its
orders “at any time before the entry of judgment adjudicating all
the claims and the rights and liabilities of all the parties.”
Fed. R. Civ. P. 54(b)F As a result, when a court enters a
decision that does not adjudicate all the claims or the rights and
liabilities of all the parties in the lawsuit, the court may
reconsider its decision. The March 31 order did not adjudicate all
of the parties' claims and counterclaims and did not purport to be
a final judgment. Therefore, the court will reconsider the March
31 order under Rule 54(b).

Parties who seek reconsideration of interlocutory decisions by
the court, including the grant of a motion for summary judgment,
are proceeding under Rule 54(b). See Al-Sadoon v. FISI*Madison
Fin. Corp., 188 F. Supp. 2d 899, 900 (M.D. Tenn. 2002). That rule,
however, “does not expressly provide for such motions by parties

and does not prescribe any standards or bases for revisions of

 

1 Rule 59(e) provides that “[a]ny motion to alter or amend a judgment

shall be filed no later than 10 days after entry of judgment.”

2Rule 54(b) states: “When more than one claim for relief is presented
in an action, whether as a claim, counterclaim, cross-claim, or third party
claim, or when multiple parties are involved, the court may direct the entry
of a final judgment as to one or more but fewer than all of the claims or
parties only upon an express determination that there is no just reason for
delay and upon an express direction for the entry of judgment. In the absence
of such a determination and direction, any order or other form of decision,
however designated, which adjudicates fewer than all the claims or the rights
and liabilities of fewer than all the parties shall not terminate the action
as to any of the claims or parties, and the order or other form of decision is
subject to revision at any time before the entry of judgment adjudicating all
the claims and the rights and liabilities of all the parties.”

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prior decisions.” ;d; at 900-01. The Al;§adggn court extensively
analyzed other federal districts' treatment of motions to
reconsider interlocutory decisions, noting that several districts
have limited such motions to the grounds available for motions to
alter or amend a final judgment under Rule 59(e). ld; at 901
(citing Local Rule 60.1 (D. Hawaii 2001); Local Civil Rule l(e)
(W.D. Wash. 2001); Local Rule 7»9(b) (N.D. Cal. 2001); and Local
Rule 7~7.17 (C.D. Cal. 2001)). The Al-Sadoon court also stated
that it generally considers motions to reconsider “pursuant to the
grounds available for motions to alter or amend under Rule 59(e) or
upon a showing that the court clearly overlooked material facts or
controlling law that were presented by the party in its prior
motion and that would result in a different disposition." ld; at
902. This court will apply the Rule 59(e) standard to the present
motion.

In the Sixth Circuit, a Rule 59(e) motion “may be granted if
there is a clear error' of law, newly' discovered. evidence, an
intervening change in controlling law, or to prevent manifest
injustice.” GenCorp, Inc. v. Am. Int'l Underwriters, 178 F.3d 804,
834 (6th Cir. 1999) (citations omitted). Such a motion “may not be
used to relitigate old matters, or to raise arguments, or present

evidence that could have been raised prior to the entry of

judgment.” 11 Charles Alan Wright §§ al., Federal Practice and
Procedure § 2810.1 (2d ed. 1995). The court should. use its

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“informed discretion” in deciding whether to grant or deny a Rule
59(e) motion. _g§ §§§j_y;_M§trgg_Lifg_;g§;_gg;, 675 F.2d 119, 122
(Gth Cir. 1982).

II. Analysis

The court granted summary judgment on Count Four of the third
amended complaint on the ground that it was not brought within the
three-year statute of limitations for property torts contained in
Tenn. Code Ann. § 28-3-105. FedEx argues that the court should
have applied the six-year statute of limitations for contract
claims. FedEx contends that it alleges “misappropriation” of the
DM3000 only to the extent that Accu-Sort claims possession of that
invention in violation of the Consulting Agreement between the
parties. FedEx now appears to disclaim that the DM3000
incorporates any information alleged to be a common law trade
secret.

In Tennessee, the statute of limitations to be applied to an
action is based on the gravamen of the complaint, rather than its
designation as an action sounding in tort or contract. Alexander v.
Third Nat’l Bank, 915 S.W.2d 797, 798 (Tenn. 1996); Pera v. Kroger
Qg;, 674 S.W.2d 715, 719 (Tenn. 1984). The gravamen, or real
purpose, of an action is determined by the basis on which damages
are sought. Green v. Moore, 2001 WL 1660828, at *3 (Tenn. Ct. App.
2001)(citing Bland v. Smith, 277 S.W.2d 377, 379 (Tenn. 1955)). In

the instant case, FedEx seeks compensatory and punitive damages for

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Accu-Sort’s alleged use of FedEx’s proprietary information.
Although Count Four is titled “Breach of Consulting
Agreement,” the alleged breach of contract consists of the use by
Accu-Sort of technology alleged to belong to FedEx.
The gravamen of an action is in tort and not in contract
when an act constituting a contractual breach also
constitutes a breach of a common law duty independent of
the contract. ... Where a contractual relationship exists
between persons and at the same time a duty is imposed by
or arises out of the circumstances surrounding or
attending the transaction, the breach of duty is a tort.
In such a case, the tortious act, and not a breach of
contract is the gravamen of the action; the contract is
the mere inducement creating the state of things which
furnishes the occasion for the tort.
Green, 2001 WL 1660828, at *3; Mullins v. Golden Circle Fordc Inc.,
1986 WL 3837, at *7 (Tenn. Ct. App. 1986); see also Chase Manhattan
Bank, N.A. v. CVE, Inc., 206 F. Supp.2d 900, 906 (M.D. Tenn. 2002).
FedEx argues that the court misapplied the holding of Green
because the complaint alleges only the breach of contractual duties
as to the DM3000. In Green, the court compared the complaint's
factual allegations to the elements of the tort in question. See
Green, 2001 WL 1660828, at *3-4 (finding that the gravamen of the
action was not intentional infliction of emotional distress because
the complaint did not allege all of the elements of that tort).
A trade secret is “any formula, process, pattern, device or

compilation of information that is used in one's business and which

gives him an opportunity to obtain an advantage over competitors

who do not use it.” Hickory Specialtiesc Inc. v. B & L Labs, 592

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S.W.2d 583, 586-87 (Tenn. Ct. App. 1979). The misappropriation of
a trade secret requires the communication of a trade secret to a
party in a position of trust or confidence and the subsequent use

of that secret to the plaintiff’s detriment. See Hickory

Specialtiesl Inc. v. B&L Laboratoriesl Inc., 592 S.W.Zd at 586;

Wright Medical Technology;l Inc. v. Grisoni, 135 S.W.Bd 561, 588
(Tenn. Ct. App. 2001); TGC Corp. v. HTM Sports, B.V., 896 F.Supp.

751, 757 (E.D. Tenn. 1995). Count Four incorporates all prior

factual allegations and further alleges that

AccuSort has misappropriated and has continued to
misappropriate the ownership of a dimensioning system
known as the ‘DM3000'.... Under Section. 13 of the
Consulting Agreement, AccuSort is obligated to turn over
and assign to FedEx all formulae, processes, machines,
compositions of matter (or improvements thereof) computer
programs, know-how, discoveries, techniques, drawings,
specifications, renderings and all other documents, data

and materials (“Materials”) in any way related to the
work conducted on the MSDS project. As a result of
AccuSort's misappropriation and continuing

misappropriation, FedEx has been damaged.

Third Am. Compl. jj 47-49. FedEx's allegations presuppose that the
Consulting Agreement grants it proprietary rights in the DM3000 and
whatever technology it incorporates. FedEx also alleges that this
information was to remain confidential under the Consulting
Agreement.3 (Id. at j 17.) Section 13 of the Consulting Agreement
assigns patent and common law rights to FedEx, further

demonstrating that the protected information provides the

 

3“[Accu-Sort] shall not communicate [FedEx's] information in any form
to any third party without [FedEx's] prior written consent.” Consulting
Agreement § 10.

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competitive business advantage that characterizes common-law trade

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The gravamen of Count Four, therefore, is the misappropriation
of trade secrets. This conclusion is further demonstrated later in
the complaint, where FedEx asks the court to “[e]nter an injunction
prohibiting AccuSort from using and/or disseminating FedEx's trade
secret, confidential and/or proprietary information including, but
not limited to restraining and enjoining the sale of the DM3000
and any other technology derived from AccuSort's misappropriation
of FedEx’s confidential trade secret information and
misappropriation of FedEx’s property.” (Third Am. Compl. at 13.)
Thus, the court's application of the three-year statute of
limitations to Count Four was not based on a clear legal error.
Because FedEx cites no other new evidence or change in law, its
motion to reconsider and motion for partial summary judgment must

be DENIED.

So ordered this Szn\ day of July 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

   

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Honorable Samuel Mays
US DISTRICT COURT

